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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 16-61833-CIV-ALTONAGA/O’Sullivan

  STEPHEN DETATA,

         Plaintiff,
  v.

  VERIZON WIRELESS PERSONAL
  COMMUNICATIONS, LP,

        Defendant.
  _______________________________/

                                               ORDER

         THIS CAUSE came before the Court upon Defendant, Verizon Wireless Personal

  Communications, LP’s (“Defendant[’s]”) Motion to Compel Arbitration and Stay Judicial

  Proceedings (“Motion”) [ECF No. 17], filed on August 31, 2016. Plaintiff, Stephen DeTata

  (“Plaintiff”) filed a Response . . . (“Response”) [ECF No. 21] on September 19, 2016; and

  Defendant filed a Reply . . . (“Reply”) [ECF No. 22] on September 29, 2016. The Court has

  carefully considered the parties’ submissions, the record, and applicable law.

                                         I. BACKGROUND

         Plaintiff alleges he started receiving automated calls from Defendant in June 2015

  regarding an alleged debt he had with Defendant for wireless services. (See Complaint [ECF No.

  1] ¶ 24). He asked Defendant’s representatives to stop the automated phone calls, but he

  continued to receive them, up to four times a day. (See id. ¶¶ 25–28). Plaintiff alleges as a result

  of these calls Defendant violated the Telephone Consumer Protection Act, 47 U.S.C. section 227

  (“TCPA”), and the Florida Consumer Collection Practices Act, Florida Statutes section 559.72

  (“FCCPA”). (See generally id.).
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          Defendant contends Plaintiff was one of its wireless customers from August 12, 2014

  until October 14, 2015, when Plaintiff’s service was disconnected due to nonpayment. (See

  Declaration of Jennifer Dalmida (“Dalmida Declaration”) [ECF No. 17-1] ¶¶ 8, 12). Defendant

  states Plaintiff signed an agreement (“Service Agreement”) (see Dalmida Decl., Ex. A-1),

  whereby he accepted the terms of the My Verizon Wireless Customer Agreement (“Customer

  Agreement”) (see id., Ex. A-2), which requires arbitration of all disputes relating to or arising out

  of the Customer Agreement. (See Mot. 1–2). Plaintiff argues there is a question as to whether

  the parties entered into a valid and enforceable agreement and whether the agreement

  encompasses the dispute at issue. (See Resp. 5–6).

                                        II. LEGAL STANDARD

          “The Federal Arbitration Act (‘FAA’) establishes a general federal policy favoring

  arbitration.” Mims v. Glob. Credit & Collection Corp., 803 F. Supp. 2d 1349, 1352 (S.D. Fla.

  2011). “Section 2 [of the FAA] is a congressional declaration of a liberal federal policy favoring

  arbitration agreements . . . .” Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1,

  24 (1983) (alterations added). “As a result of the well-established federal policy favoring

  arbitration, the burden is on the party opposing arbitration to prove to the court that arbitration is

  improper.” Kozma v. Hunter Scott Fin., L.L.C., No. 09-80502-CIV, 2010 WL 724498, at *2

  (S.D. Fla. Feb. 25, 2010) (citing Gilmer v. Interstate/Johnson Lane Corp., 500 U.S. 20, 26–27

  (1991)).1 “District courts consider three factors in reviewing a motion to compel arbitration: (1)


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   Plaintiff suggests the Court must analyze the issues presented under a summary judgment standard (see
  Resp. 3–4), yet that is not quite correct. While the burden on the non-moving party is “not unlike that of a
  party seeking summary judgment,” Herrera Cedeno v. Morgan Stanley Smith Barney, LLC, 154 F. Supp.
  3d 1318, 1324 (S.D. Fla. 2016) (citation omitted), the Court is not required to convert a motion to compel
  arbitration to one for summary judgment and is not required to allow the opportunity for discovery, see
  Stewart v. Laidlaw & Co. (UK) Ltd, Inc., No. 11-22846-Civ, 2012 WL 280388, at *2–3 (S.D. Fla. Jan. 31,
  2012) (denying limited discovery request and compelling arbitration).


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  [w]hether there is a valid, written agreement to arbitrate; (2) [w]ether there is an arbitrable issue;

  and (3) [w]hether the right to arbitrate was waived.” Booth v. S. Wine & Spirits of Am., Inc., No.

  14-22357-CIV, 2014 WL 5523123, at *2 (S.D. Fla. Oct. 31, 2014) (alterations added; citation

  omitted).

                                              III. ANALYSIS

          Plaintiff’s sole argument is the Motion should be denied to allow the parties the

  opportunity to conduct limited discovery. He asserts issues exist regarding: (1) whether the

  parties formed a valid and enforceable agreement; and (2) what arbitration language was present

  in the agreement at the time he signed the Service Agreement. (See Resp. 3).

          Plaintiff asserts there are two versions of the Customer Agreement, each of which uses

  different arbitration language. The first version is the Customer Agreement attached to the

  Dalmida Declaration, which requires arbitration of “any dispute that in any way relates to or

  arises out of this agreement.” (Customer Agreement 7 (bold and capitalization omitted); see also

  Resp. 10).2 The second version mandates arbitration for “any dispute that results from this

  agreement.” (Resp. 8 (emphasis omitted) (quoting Salsbery v. Verizon Wireless (VAW), LLC,

  No. 2:13-cv-26419, 2014 WL 3876635, at *6 (S.D.W. Va. Aug. 7, 2014))).

          But Plaintiff fails to provide any factual allegation or submission to suggest the

  arbitration language used in the Customer Agreement attached to the Dalmida Declaration,

  signed under penalty of perjury, is not the Customer Agreement he agreed to. Instead, Plaintiff

  includes more than four pages — nearly one third the length of the Response — of block quotes




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    Plaintiff concedes this “broader worded version” produces a “different outcome[],” i.e., his claims are
  arbitrable under the “relates to or arises out of” language. (Resp. 11 (alteration added)); see also Shea v.
  BBVA Compass Bancshares, Inc., No. 1:12-cv-23324-KMM, 2013 WL 869526, at *4–6 (S.D. Fla. Mar.
  7, 2013) (finding TCPA claim arbitrable).

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  from the non-binding Salsbery decision. It is unclear what useful purpose Plaintiff believes this

  serves.

            Plaintiff then goes on to state he “never received a physical copy of the Customer

  Agreement and cannot be certain as to which version of the Customer Agreement he allegedly

  agreed to.” (Resp. 11). This will not do. See Herrera Cedeno, 154 F. Supp. 3d at 1325

  (“Plaintiff’s mere denial that he did not receive the Agreement is not sufficient evidence, on its

  own[,] given that Defendants offered undisputed evidence Plaintiff signed and acknowledged . . .

  the terms of the Client Agreement.” (alterations added; internal quotation marks and citation

  omitted)).

            “The party opposing a motion to compel arbitration is responsible for coming forward by

  way of affidavit or allegation of fact to show cause why the court should not compel arbitration.”

  Stewart, 2012 WL 280388, at *2 (citation omitted). Plaintiff has not provided an affidavit or any

  allegation of fact. Again, he only provides the unsupported assertion in his Response that he did

  not receive a physical copy of the Customer Agreement and cannot be sure what it said.

            This is a far cry from asserting, let alone supporting such an assertion, with an affidavit

  under penalty of perjury stating the customer agreement he signed was the other version

  containing different arbitration language.       Other courts have denied requests for limited

  discovery in similar situations. See, e.g., Herrera Cedeno, 154 F. Supp. 3d at 1325 (“Plaintiff

  has not contested the authenticity of his signature on the document. . . . Because it is undisputed

  that Plaintiff signed the Application and Client Agreement, the burden then shifts to Plaintiff to

  show that no valid contract existed and to meet the burden []he must unequivocally deny that an

  agreement to arbitrate was reached and must offer some evidence to substantiate the denial.”

  (first alteration added; second alteration in original; internal quotation marks and citations



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  omitted)); Aronson v. Dean Witter Reynolds, Inc., 675 F. Supp. 1324, 1326 (S.D. Fla. 1987)

  (“[I]t is axiomatic that [a party] is not entitled to additional discovery of ‘issues’ he is entirely

  unable to establish even as a threshold matter.” (alterations added)).3

                                          IV. CONCLUSION

          For the foregoing reasons, it is hereby

          ORDERED AND ADJUDGED that the Motion [ECF No. 17] is GRANTED.

  Arbitration of Plaintiff, Stephen DeTata’s claims is compelled in accordance with the Service

  Agreement, the Customer Agreement, and the FAA. This case is STAYED pending arbitration.

  The Clerk is directed to administratively CLOSE this case. All pending motions are DENIED

  as moot.

          DONE AND ORDERED in Miami, Florida, this 27th day of October, 2016.



                                                             _________________________________
                                                             CECILIA M. ALTONAGA
                                                             UNITED STATES DISTRICT JUDGE


  cc:     counsel of record




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    Additionally, Plaintiff’s assertions regarding the two versions of the agreement do not withstand close
  scrutiny. While Salsbery was decided in August 2014, it was based on an agreement signed in 2010, see
  2014 WL 3876635, at *1 — four years before Plaintiff agreed to the Customer Agreement. Plaintiff also
  states there is “confusion with the dates” because the Customer Agreement is dated July 24, 2014 and
  Plaintiff did not sign until August 12, 2014 (Resp. 11), but there is a more straightforward explanation.
  Plaintiff did not actually sign the Customer Agreement; rather, by signing the Service Agreement, he
  agreed to the Customer Agreement. (See Service Agreement). The July 24, 2016 date on the Customer
  Agreement is thus not the date on which Plaintiff agreed; it is more likely the effective date of the
  document. More importantly, Defendant has provided a sworn declaration stating the Customer
  Agreement attached as Exhibit A-2 is the version in effect at the time Plaintiff signed. (See Dalmida
  Decl. ¶ 11). Plaintiff has not provided any evidence to rebut this. While Plaintiff claims he never
  received a physical copy of the Customer Agreement, he has not established he was entitled to one.
  Indeed, the Service Agreement states the customer can view the Customer Agreement anytime at
  verizonwireless.com or in his Verizon account. (See Service Agreement).

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